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                                          9                                UNITED STATES DISTRICT COURT
BROWNSTEIN HYATT FARBER SCHRECK, LLP




                                          10
                                                                                  DISTRICT OF NEVADA
                                          11
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                                               BOARD OF TRUSTEES OF THE        Case No.:
                                          12   TEAMSTERS LOCAL 631 SECURITY
                                               FUND FOR SOUTHERN NEVADA; BOARD
              (702) 382-2101




                                          13   OF TRUSTEES OF THE TEAMSTERS
                                          14   CONVENTION INDUSTRY TRAINING
                                               FUND
                                          15
                                                                                     Plaintiffs,
                                          16
                                               vs.                                                     COMPLAINT
                                          17
                                          18   CY EXPO, LLC, a Nevada limited liability
                                               company
                                          19
                                                                                   Defendant.
                                          20
                                          21   Plaintiffs allege:
                                          22              1.   This action arises under the Employee Retirement Income Security Act of 1974
                                          23   (“ERISA”), 29 U.S.C. §§ 1001-1500, and the Court has jurisdiction pursuant to 29 U.S.C. §
                                          24   1132(e).
                                          25              2.   Plaintiffs are the Board of Trustees of the Teamsters Local 631 Security Fund for
                                          26   Southern Nevada and Trustees of the Teamsters Convention Industry Training Fund (“Trust
                                          27   Funds”) and consist of fiduciaries for purposes of ERISA.
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                                          1               3.    Defendant CY Expo, LLC (“CY Expo”), a company that is incorporated under the

                                          2    laws of Georgia, acted as an employer within the State of Nevada employing persons (“Covered

                                          3    Employees”) who perform work covered by a collective bargaining agreement (“CBA”) between

                                          4    CY Expo and the International Brotherhood of Teamsters Local 631 (“Union”).

                                          5               4.    The Trust Funds are ERISA employee benefit Trust Funds that provides benefits to

                                          6    Covered Employees.

                                          7               5.    The CBA incorporates by reference the Trust Agreement establishing the Trust

                                          8    Funds (“Trust Agreements”).

                                          9               6.    The CBA, the Trust Agreement, and 29 U.S.C. § 1145 require each employer,
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                                          10   including CY Expo, to make timely contributions to the Trust Funds on behalf of each employee

                                          11   who performs work covered by the CBA.
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                                          12              7.    The CBA, the Trust Agreement, and 29 U.S.C. § 1132(g) provide for assessment
              (702) 382-2101




                                          13   of audit fees, court costs, expenses, interest, attorneys’ fees and liquidated damages against an

                                          14   employer in the event the employer defaults in making payments to the Trust Funds and legal

                                          15   proceedings are required to recover such payments.

                                          16                                      SOLE CLAIM FOR RELIEF
                                                                                    Delinquent Contributions
                                          17
                                                          8.    Paragraphs 1 through 7 are incorporated by reference as though fully set forth
                                          18
                                               herein.
                                          19
                                                          9.    CY Expo has failed to meet its obligations to remit employee benefit contributions
                                          20
                                               to the Trust Funds as set forth in the CBA and Trust Agreement.
                                          21
                                                          10.   As a result of its delinquency, CY Expo is liable to the Trust Funds for unpaid
                                          22
                                               contributions, interest, liquidated damages, audit fees, and attorneys’ fees.
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                                          1    WHEREFORE, Plaintiffs pray for relief as follows:

                                          2               1.   A judgment against CY Expo in an amount demonstrated at trial for unpaid

                                          3    contributions, liquidated damages, interest, court costs and attorney’s fees as required by ERISA

                                          4    and the Trust Agreement;

                                          5               2.   For other equitable relief as provided by ERISA, including but not limited to

                                          6    injunctive relief; and

                                          7               3.   For such other and further relief as the Court deems proper.

                                          8    Dated: January 27, 2020              BROWNSTEIN HYATT FARBER SCHRECK, LLP
                                          9
                                                                                    /s/ Christopher M. Humes
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